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     8                                 UNITED STATES DISTRICT COURT

     9                                CENTRAL DISTRICT OF CALIFORNIA

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    11   JOHN C. VERNILE,                               )      Case No. 2:22-civ-02599-SVW-PVC
                                                        )
    12                  Petitioner,                     )
                                                        )              JUDGMENT
    13           vs.                                    )
                                                        )
    14   PACIFICA FOUNDATION, INC., a                   )
         California nonprofit corporation,              )
    15                                                  )
                        Defendant.                      )
    16

    17           The parties each filed cross-motions for summary judgment pursuant to FRCP 56.
    18   Petitioner’s motion (Dkt. #50) sought confirmation of the arbitration award (Exhibit C to Dkt.
    19   #1) which is the subject matter of this action. Defendant’s motion (Dkt. #47) sought vacatur of
    20   the arbitration award. Both motions asserted that no genuine issue of material fact existed and
    21   that they are each entitled to summary judgment as a matter of law. The parties submitted
    22   moving memoranda and supporting declarations with exhibits. Subsequently, the parties
    23   submitted opposing memoranda with supporting declarations with exhibits.
    24           The court, having been fully briefed, GRANTS petitioner’s motion for summary
    25   judgment and DENIES Defendant’s motion for summary judgment. (Dkt. #60)
    26   /////
    27   /////

    28   /////
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     1         IT IS ORDERED:

     2          (1) The Final Arbitration Award (Exh. C, Dkt. #1) is CONFIRMED; and

     3          (2) The Court enters judgment in favor of Petitioner, John C. Vernile, and against

     4             defendant, Pacifica Foundation, Inc., a California nonprofit corporation, for

     5             $300,000, together with pre-judgment interest at the rate of 3.48% per annum and

     6             post-judgment interest at the rate of 3.48% per annum and such costs as are

     7             allowable by law pursuant to FRCP. 54(d)(1).

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    10        September 16, 2022
         Date:_________________

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                                            JUDGE OF THE UNITED STATES DISTRICT COURT
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